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                                                                C~.S. District Court
                                                                     ct.OfMontana
                                                                     MISSOula

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                              BUTTE DIVISION

 UNITED STATES OF AMERICA,                           CR-14-22-BU-DLC
                      Plaintiff,                     FINDINGS AND
                                                   RECOMMENDATION
        vs.                                        CONCERNING PLEA
 CATHERINE LINN TUCKER,

                      Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiracy to commit wire

fraud in violation of 18 U.S.C. § 371 (Count I) and aggravated identity theft in

violation of 18 U.S.C. § I028A(a)(I) (Count XXVI). In exchange for Defendant's

plea, the United States has agreed to dismiss Counts V-VI, VIII, XIV, XVI, and

XXVII of the Indictment.



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      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That th~ Defendant is aware of the nature of the charge against her and

consequences of pleading guilty to the charge,

      3. That the Defendant fully understands her constitutional rights, and the

extent to which she is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that she fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Counts I

and XXVI of the Indictment, and that sentence be imposed. I further recommend

that Counts V-VI, VIII, XIV, XVI, and XXVII of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

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A2reement and the presentence report.

     DATED this 21 st day of Novem er,


                                   e miah C. Lynch
                                    nited States Magistrate Judge




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